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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

 REPRESENTATIVE TED LIEU, et al.,

             Plaintiffs,                   Civ. No. 16-2201 (EGS)

             v.

FEDERAL ELECTION COMMISSION,

             Defendant.


                                 ORDER

     Upon consideration of defendant’s motion to dismiss

plaintiffs’ first amended complaint, and for the reasons stated

in the Memorandum Opinion, defendant’s motion to dismiss is

GRANTED. Plaintiffs’ first amended complaint is hereby

DISMISSED.

     SO ORDERED.

Signed:      Emmet G. Sullivan
             United States District Judge
             February 28, 2019
